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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                         Case No. 8:03-cr-152-T-30TBM

EDWARD A. HALLOCK
_____________________________________

                                             ORDER

       This matter is before the Court on the Defendant’s Motion for Release Pending Appeal (Dkt.

#295). A hearing was held on said Motion on September 2, 2005. Upon review and consideration,

the Motion for Release Pending Appeal is DENIED.

       Title 18, United States Code, Section 3143(b) requires that the defendant shall be detained

pending appeal unless the judicial officer finds (a) by clear and convincing evidence that the person

is not likely to flee or pose a danger to the community if released and (b) that the appeal is not for

the purposes of delay and raises a substantial question of law or fact likely to result in -- reversal,

an order for new trial or a reduced sentence to a term of imprisonment less than already served plus

the duration of the appeal process. The Court does not believe there is a substantial question of law

or fact likely to result in a reduced sentence to a term of imprisonment less than the duration of the

appeal process. As the Defendant is aware, the Eleventh Circuit has held that the United States

Supreme Court’s holdings in Blakely v. Washington, 542 U.S. 292 (2004), and United States v.

Booker, 543 U.S. ___, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005), do not apply retroactively to cases

on collateral review. Varela v. United States, 400 F.3d 864, 868 (11th Cir. 2005). The Court

disagrees with Defendant’s argument that the Supreme Court is likely to resolve this issue in favor

of Defendant. Almost all of the other circuit courts of appeals have held that Booker does not apply
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retroactively to cases on collateral review. See United States v. Fraser, 407 F.3d 9, 11 (1st Cir.

2005); Guzman v. United States, 404 F.3d 139, 143-44 (2d Cir. 2005); Lloyd v. United States, 407

F.3d 608, 615-616 (3d Cir. 2005); United States v. Fowler, 133 Fed.Appx. 922, 922-23 (4th Cir.

2005); In re Elwood, 408 F.3d 211, 213 (5th Cir. 2005); Humphress v. United States, 398 F.3d 855,

857 (6th Cir. 2005); McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005); Never Misses

a Shot v. United States, 413 F.3d 781, 783-84 (8th Cir. 2005); United States v. Price, 400 F.3d 844,

845 (10th Cir. 2005); In re Hinton, 125 Fed.Appx. 317 (D.C. Cir. 2005); see also Schardt v. Payne,

414 F.3d 1025, 1038 (9th Cir. 2005) (Blakely does not apply retroactively to cases on collateral

review).

          Accordingly, having considered the motion, and being otherwise fully advised, it is

ORDERED AND ADJUDGED that:

          (1)       That the Defendant’s Motion for Release Pending Appeal (Dkt. #295) is DENIED.

However, via separate Order, the Court will grant a ninety-day extension of the Defendant’s

reporting date.

          DONE and ORDERED in Tampa, Florida on September 2, 2005.




Copies furnished to:
Counsel/Parties of Record
United States Probation Office



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